             Case 2:08-cr-00410-KJM Document 103 Filed 07/21/11 Page 1 of 2



 1   THOMAS A. JOHNSON, #119203
     400 Capitol Mall, Suite 1620
 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3
     Attorney for Defendant
 4   FERNANDO LOPEZ AMARILLAS
 5
 6                        IN THE UNITED STATES DISTRICT COURT
 7                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
                                                 )   Case No.: 2:08-cr-00410-KJM
 9   UNITED STATES OF AMERICA,                   )
                                                 )
10                 Plaintiff,                    )   JOINT STATEMENT
                                                 )
11       vs.                                     )
                                                 )   Date: July 20, 2011
     FERNANDO LOPEZ AMARILLAS,                       Judge: Hon. Kimberly J. Mueller
12                                               )
                   Defendant.                    )
13                                               )
14
15          IT IS HEREBY ACKNOWLEDGED BY AND AMONG ALL PARTIES that
16   the request to continue the case of U.S. vs. Lopez Amarillas, 2:08-cr-00410-KJM, was
17   not timely, having been filed at 4:36 p.m. on Tuesday, July 12, 2011, and that this request
18   to continue should have been submitted before noon on Tuesday, July 12, 2011. Both
19   parties understand the court’s policy regarding timely filing of requests to continue,
20   which stipulates that such requests to continue must be filed no later than noon on the
21   Tuesday prior to the hearing date. Daniel S. McConkie, Jr., Assistant U.S. Attorney and
22   Thomas A. Johnson, Defendant’s attorney both acknowledge this policy.
23
24
25   IT IS SO ACKNOWLEDGED.
26
27   DATED: July 20, 2011                      By:    /s/ Thomas A. Johnson_____
                                                      THOMAS A. JOHNSON
28                                                    Attorney for Defendant
                                                      FERNANDO LOPEZ AMARILLAS


                                JOINT STATEMENT                  -1-
             Case 2:08-cr-00410-KJM Document 103 Filed 07/21/11 Page 2 of 2



 1   DATED: July 20, 2011                      BENJAMIN WAGNER
                                               United States Attorney
 2
                                         By:   /s/ Thomas A. Johnson for_
 3                                             DANIEL S. MCCONKIE, JR.
                                               Assistant U.S. Attorney
 4
 5
 6   IT IS SO ACCEPTED.
 7
     Dated: July 20, 2011.
 8
 9
10
                                                UNITED STATES DISTRICT JUDGE
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



                             JOINT STATEMENT            -2-
